Case 2:18-cv-09637-JGB-JPR Document 6 Filed 01/25/19 Page 1 of 3 Page ID #:73
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Case 2:18-cv-09637-JGB-JPR Document 6 Filed 01/25/19 Page 2 of 3 Page ID #:74
Case 2:18-cv-09637-JGB-JPR Document 6 Filed 01/25/19 Page 3 of 3 Page ID #:75
